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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

     Civil Action Number:

     JESUS GONZALEZ

            Plaintiff,
     vs.


     PARTY CITY CORPORATION
     d/b/a Party City at Coral Way and
     COLUMBIA BBB WESTCHESTER
     SHOPPING
     C/O IDEAL MANAGEMENT COMPANY

                   Defendants.
                                                   /

                            COMPLAINT FOR INJUNCTIVE RELIEF

            Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

     hereby sues Defendant Party City Corporation doing business as Party City at Coral Way

     and Defendant Columbia BBB Westchester Shopping c/o Ideal Management Company, for

     injunctive relief pursuant to 42 U.S.C. §§12181-12189 of the Americans with Disabilities

     Act (“ADA”) and 28 C.F.R. Part 36 and alleges:

                                           JURISDICTION

            1.      This is an action for declaratory and injunctive relief pursuant to Title III of

     the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

     vested with original jurisdiction under 28 U.S.C. §1331.

            2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

     events giving rise to this lawsuit occurred within the Southern District of Florida and the

     subject premises is located within the jurisdiction of this Court.



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             3.      Defendants are authorized to conduct, and are conducting, business within

     the State of Florida and within the jurisdiction of this court.

                                                 PARTIES

             4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff suffers

     from what constitutes a “qualified disability” under the ADA as he is disabled with

     neuropathy and nerve damage due to radiation and utilizes a wheelchair for mobility.

     Plaintiff’s disability is defined in 42 US Code §12102(1)(A), (2) and in 28 C.F.R.

     §36.105(b)(2) and 28 C.F.R. §36.105(2)(iii)(D).

             5.      Defendant Party City Corporation (also referenced as “Defendant Party

     Corp,” “tenant,” “operator,” lessee” or “co-Defendant”) is a foreign corporation authorized

     to transact business in Florida. Party City Corporation is a subsidiary of Party City Holdco

     Inc., which is a NYSE company on the Russell 2000 component.

             6.      Defendant Columbia BBB Westchester Shopping c/o Ideal Management

     Company (also referenced as “Defendant Columbia,” “Lessor,” “Owner,” or “co-

     Defendant”) is the owner of real property located at 8675 SW 24th Street, Miami, Florida

     33155 (also called “Coral Way”), which is also referenced as folio 30-4010-000-0020.

     Defendant Columbia’s real property is built out as a mixed-use commercial center.

     Defendant Columbia leases its mixed-use commercial center (in part) to retail stores

     including (but not limited to) Five Below, Dollar Tree, The UPS Store and to restaurants

     such as Sushi Saki and Subway. Defendant Columbia also leases a portion of its mixed-use

     commercial center co-Defendant Party Corp who in turn operates its “Party City” brand

     retail store (which is the subject of this instant action) at that location.




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                                                   FACTS

            7.      Party City retail stores sell party goods such as disposable paper/plastic

     dining ware, balloons, and party decorations. All Party City retail stores are places of public

     accommodation pursuant to 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5) as an “other”

     sales establishment. The Party City retail store located at 8675 SW 24th Street which is the

     subject of this complaint is also referenced as “Party City retail store,” “Party City at Coral

     Way,” “retail store,” or “place of public accommodation.”

            8.      As the operator of retail stores which are open to the public, Defendant Party

     Corp is defined as a “Public Accommodation” within meaning of Title III because it is a

     private entity which owns, or operates a retail store; 42 U.S.C. §12182, §12181(7)(E); 28

     C.F.R. §36.104(5).

            9.      Due to the close proximity to Plaintiff’s home to the Party City retail store at

     8675 SW 24th Street, on May 24, 2021 Plaintiff went to the Party City retail store with the

     intent of purchasing colorful disposable dining ware.

            10.     On entering the Party City at Coral Way, Plaintiff had occasion to visit the

     restroom and while in the restroom Plaintiff met multiple areas of inaccessibility due to the

     fact that he is confined to his wheelchair.

            11.     Due to the inaccessible restroom facilities, Plaintiff has been denied full and

     equal access by the operator/lessee of the retail store (Defendant Party Corp) and by the

     owner/lessor of the commercial property which houses the retail store (Defendant

     Columbia).

            12.     Defendant Party Corp is well aware of the ADA and the need to provide for

     equal access in all areas of its retail stores. Therefore, Defendant Party Corp’s failure to




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     reasonably accommodate mobility impaired and disabled patrons by insuring that its Party

     City at Coral Way is fully accessible is/was willful, malicious, and oppressive and in

     complete disregard for the civil rights of the Plaintiff and in violation of 28 C.F.R. §36.303.

             13.       As the owner of commercial real property, much of which is operated as

     retail stores open to the public, Defendant Columbia is also a “Public Accommodation”

     pursuant to 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5). On information and belief, as

     an investor and owner of commercial property being used as a public accommodation,

     Defendant Columbia is aware of the ADA and the need to provide for equal access in all

     areas of its commercial property which are open to the public. Failure to reasonably

     accommodate mobility impaired and disabled patrons at its commercial property by

     ensuring that its commercial property is fully accessible is/was willful, malicious, and

     oppressive and in complete disregard for the civil rights of the Plaintiff and in violation of

     28 C.F.R. §36.303.

             14.       As a result of the joint and several discrimination by Defendants, Plaintiff

     has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

     injury-in-fact.

             15.       Plaintiff continues to desire to patronize the Party City at Coral Way, but

     continues to be injured in that he continues to be discriminated against due to the barriers to

     access within that place of public accommodation, all which are in violation of the ADA.

             16.       Any and all requisite notice has been provided.

             17.       Plaintiff has been obligated to retain the civil rights law office of J. Courtney

     Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of




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     this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

     attorney’s fees, costs and expenses from Defendants pursuant to 42 U.S.C. §12205.

                     COUNT I – VIOLATIONS OF TITLE III OF THE ADA

            18.     The ADA was enacted and effective as of July 26, 1990 and ADA legislation

     has been protecting disabled persons from discrimination due to disabilities since that time.

     Since 30 years have passed since enactment of the ADA, public accommodations and places

     of public accommodation have had adequate time for compliance.

            19.     Congress explicitly stated that the purpose of the ADA was to:

            (i)     provide a clear and comprehensive national mandate for the
                     elimination of discrimination against individuals with disabilities;
            (ii)    provide clear, strong, consistent, enforceable standards addressing
                     discrimination against individuals with disabilities; and,
            (iii)   invoke the sweep of congressional authority, including the power to
                     enforce the fourteenth amendment and to regulate commerce, in
                     order to address the major areas of discrimination faced on a daily
                     by people with disabilities.

                    42 U.S.C. §12101(b)(1)(2) and (4).

            20.     Prior to the filing of this lawsuit, Plaintiff personally visited the party City at

     Coral Way, however Plaintiff was denied adequate accommodation because, as a disabled

     individual who utilizes a wheelchair for mobility, Plaintiff met architectural barriers when

     he went to the restroom. Therefore, Plaintiff has suffered an injury in fact.

            21.     Defendant Party Corp (operator of the Party City retail store which is located

     at Coral Way) and Defendant Columbia (owner/lessor of the commercial property) have

     discriminated (and continue to discriminate) against Plaintiff by denying full and equal

     access to, and full and equal enjoyment of, goods, services, facilities, privileges, advantages

     and/or accommodations at the subject Party City retail store, in derogation of 42 U.S.C.




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     §12101 et. seq., and as prohibited by 42 U.S.C. §12182 et. seq. by failing to barriers to

     access pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily achievable.

             22.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

     equal safe access to, and the benefits of, the accommodations and services offered at the

     Party City at Coral Way.

             23.     Defendants are jointly and singularly governed by the ADA and must be in

     compliance therewith. Defendants have jointly and severally discriminated against Plaintiff,

     a disabled patron, in derogation of 28 C.F.R. Part 36.

             24.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

     amended), the Department of Justice, Office of the Attorney General, promulgated Federal

     Regulations to implement the requirements of the ADA, known as the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

     which said Department may obtain civil penalties of up to $75,000 for the first violation and

     $150,000 for any subsequent violation.

             25.     The commercial space which is owned by Defendant Columbia

     (owner/lessor) and which houses the Party City retail store (operated by tenant/lessee

     Defendant Party Corp) is in violation of 42 U.S.C. §12181 et. seq., the ADA, and 28 C.F.R.

     §36.302 et. seq. As such, both the owner/lessor and the tenant/lessee are discriminating

     against the Plaintiff as a result of inter alia, the following specific violations:

       i.    As to Defendant Party Corp (lessee/operator), there is a lack of signage indicating

             accessibility at the restrooms, which is in in violation of Section 4.1.3(16) and 4.30

             of the ADAAG and Section 216.6 and Section 703 of the 2010 ADA Standards for

             Accessible Design.




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       ii.   As to Defendant Party Corp (lessee/operator), Plaintiff had difficulty using the men’s

             restroom, as there are store items and merchandise encroach onto the accessible

             route. The fact that merchandise is crammed into the passageway to the restrooms is

             a violation of Section 4.3.3 of the ADAAG and Sections 403.5.1 of the 2010 ADA

             Standards for Accessible Design.

      iii.   As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

             of the property) (jointly and severally), Plaintiff had difficulty closing the lavatory

             stall door without assistance, as the bathroom toilet compartment stall door does not

             have pull handles on both sides of the door near the latch, which is in violation of 28

             C.F.R. Part 36, and ADA/ABA Design Compliance Code Section §604.8.1.2.

      iv.    As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

             of the property) (jointly and severally), Plaintiff could not transfer to the toilet

             without assistance, as the required maneuvering clearance was not provided due to

             the stall partition which encroaches over the accessible water closet clear floor space

             is a violation of 4.13.6 of the ADAAG and Section 404.2.4 of the 2010 ADA

             Standards for Accessible Design.

       v.    As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

             of the property) (jointly and severally), Plaintiff could not use the toilet without

             assistance, as the toilet paper dispenser is not in the proper position in front of the

             water closet or at the correct height above the finished floor, in violation of 2010

             ADAAG §§604, 604.7 which states that toilet paper dispensers shall comply with

             Section 309.4 and shall be 7 inches (180 cm) minimum and 9 inches (230 cm)

             maximum in front of the water closet measured to the centerline of the dispenser.




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             Further, the outlet of the dispenser shall be 15 inches (380 mm) minimum and 48

             inches (1220 mm) maximum above the finish floor and shall not be located behind

             grab bars. Section 604.9.6 further states that there must be a clearance of 1½ inches

             (38 mm) minimum below the grab bar and that dispensers shall not be of a type that

             controls delivery or that does not allow continuous paper flow. The subject toilet

             paper dispenser is in violation of these sections.

      vi.    As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

             of the property) (jointly and severally), the lavatory mirror (inside the stall) is

             mounted too high, which is in violation of Section 213.3.5 of 28 C.F.R. Part 36,

             Section 4.19.6 of the ADAAG, and Section 603.3 of the2010 ADA Standards for

             Accessible Design.

     vii.    As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

             of the property) (jointly and severally), Plaintiff was exposed to a cutting/burning

             hazard because the lavatory pipes (inside the stall) and water supply lines are not

             completely wrapped which is in violation of Section 4.19.4 of the ADAAG and

             Section 606.5 of the 2010 ADA Standards of Accessible Design, because the

             lavatory pipes are not fully wrapped or maintained.

     viii.   As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

             of the property) (jointly and severally), Plaintiff was exposed to a cutting/burning

             hazard because the lavatory pipes (outside the stall) and water supply lines are not

             completely wrapped which is in violation of Section 4.19.4 of the ADAAG and

             Section 606.5 of the 2010 ADA Standards for Accessible Design, because the

             lavatory pipes are not fully wrapped or maintained.




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      ix.   As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

            of the property) (jointly and severally), the lavatory mirror (outside the stall) is

            mounted too high, which is in violation of Section 213.3.5 of 28 C.F.R. Part 36,

            Section 4.19.6 of the ADAAG, and Section 603.3 of the2010 ADA Standards for

            Accessible Design.

      x.    As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

            of the property) (jointly and severally), the lavatory soap dispenser is at an

            inaccessible height, in violation of 28 C.F.R. Part 36, Section 308 of the 2010 ADA

            Standards for Accessible Design, and in violation of ADA Code Section §606.1.

      xi.   As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

            of the property) (jointly and severally), with respect to the women’s restroom,

            disabled individuals who use a wheelchair to perambulate cannot transfer to the

            toilet without assistance, as the side wall grab bar is not in the required location from

            the rear wall. This is a violation of Section 4.16.4 and Figure 29 of the ADAAG and

            Sections 604.5 of the 2010 ADA Standards for Accessible Design which states that

            the grab bar shall be 36 in (915 mm) minimum above the finished floor.

     xii.   As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

            of the property) (jointly and severally), with respect to the women’s restroom,

            disabled individuals who use a wheelchair to perambulate cannot use the mirror

            (inside the stall) as it is mounted too high, which is in violation of Section 213.3.5 of

            28 C.F.R. Part 36, Section 4.19.6 of the ADAAG, and Section 603.3 of the2010

            ADA Standards for Accessible Design.




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     xiii.   As to Defendant Party Corp (lessee/operator) and Defendant Columbia (owner/lessor

             of the property) (jointly and severally), with respect to the women’s restroom,

             disabled individuals who use a wheelchair to perambulate cannot close the stall door

             as the door does not have pull handles on both sides of the door near the latch, which

             is in violation of 28 C.F.R. Part 36, and ADA/ABA Design Compliance Code

             Section §604.8.1.2.

             26.     Pursuant to 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, the Defendants

     are required to make the commercial property which is being operated as a Party City retail

     store accessible to persons with disabilities since January 28, 1992. Defendants have jointly

     and severally failed to comply with this mandate.

             27.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

     Plaintiff injunctive relief, including an order to alter the commercial property and the retail

     store therein such that it is made readily accessible to, and useable by, individuals with

     disabilities to the extent required by the ADA.

             WHEREFORE, Plaintiff Jesus Gonzalez demands judgment against the Defendant

     Columbia BBB Westchester Shopping c/o Ideal Management Company (owner of the

     commercial property housing the Party City retail store) and Defendant Party City

     Corporation (operator of the Party City retail store) and requests the following relief:

                a)       The Court declare that Defendants have violated the ADA;

                b)       The Court enter an Order directing Defendants to evaluate and neutralize

                their policies, practices and procedures toward persons with disabilities,

                c)       The Court enter an Order requiring Defendants to alter the commercial

                property and the Party City retail store located therein such that it becomes




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               accessible to and usable by individuals with disabilities to the full extent required

               by the Title III of the ADA;

               d)       The Court award reasonable costs and attorneys fees; and

               e)       The Court award any and all other relief that may be necessary and

               appropriate.

     Dated this 16th day of June 2021.

                                                  Respectfully submitted,

                                                  /s/ J. Courtney Cunningham
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